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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA


                                               Case No. 0:18-mc-00076-WMW-KMM
 IN RE BANC OF CALIFORNIA
 SECURITIES LITIGATION
                                                      [PROPOSED] ORDER
                                                   COMPELLING PRODUCTION




       The Court, having considered Steven A. Sugarman’s Motion to Compel

 Production, all supporting declarations and pleadings and papers filed in this action, and

 for good cause shown, hereby grants Steven A. Sugarman’s Motion to Compel

 Production.

       IT IS SO ORDERED.

 Dated: _____________________             BY THE COURT:



                                          Kate M. Menendez
                                          U.S. Magistrate Judge
